                        Case 4:14-cr-00173-KGB                    Document 58              Filed 09/09/15         Page 1 of 6
A02458        (Rev. 09/11) Judgment in a Criminal Case
                                                                                                                                FILED
                                                                                                                              U.S. IJISlNICi COURT
              Sheet I                                                                                                     EAStERN DISTRICT ARKANSAS

                                                                                                                               SEP 0 9 2015
                                           UNITED STATES DISTRICT COURT
                                                            Eastern District of Arkansas
                                                                                                                    ~~~es ~f:~ACK, CLERK
                                                                                                                                                 DEPCLERK
                                                                          )
              UNITED STA TES OF AMERICA                                   )          JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                  KWOME LATAYE GREEN                                      )
                                                                                     Case Number: 4:14-cr-00173-01 KGB
                                                                          )
                                                                          )          USM Number: 28739-009
                                                                          )
                                                                          )          KIM DRIGGERS
                                                                                     Defendant's Attorney
THE DEFENDANT:
!¥fpleaded guilty to count(s)          2
                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-




0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended
 18 U.S.C. § 924(c)(1)(A)          Aiding and Abetting Possession and Brandishing of Firearm                   5/2/2014                  2

 (ii)                               in Furtherance of Crime of Violence



       The defendant is sentenced as provided in pages 2 through                 6          of this judgment. The sentence is imposed pursuant to
                                                                          ----
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

"1"count(s)      1                                       it' is    Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenC:lant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              9/3/2015
                                                                          Date oflmpos1hon of Judgment




                                                                              Kristine G. Baker
                                                                          ~~~~~~~~~~~~~~-~~~
                                                                                                                          U.S. District Judge
                                                                          Name and Title of Judge


                                                                                  Sti>t ' tt       I   2.01?
                                                                          Date
                        Case 4:14-cr-00173-KGB                  Document 58           Filed 09/09/15         Page 2 of 6
AO 245B    (Rev 09/l l) Judgment in Criminal Case
           Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   2   of   6
DEFENDANT: KWOME LATAYE GREEN
CASE NUMBER: 4:14-cr-00173-01 KGB


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 84 months.




     ~ The court makes the following recommendations to the Bureau of Prisons:

 The Court recommends that the defendant participate in non-residential substance abuse treatment and educational and
 vocational programs including, but not limited to, UNICOR and ACE classes. The Court further recommends that the
 defendant be incarcerated in the Forrest City, Arkansas facility.

     ilf" The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
          D at                                      D a.m.      D p.m.       on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 a   ~~~~~~~~~~~~~~~~
                                                     , with a certified copy of this judgment.



                                                                                                    UNJTED STA TES MARSHAL



                                                                           By
                                                                                                 DEPUTY UNITED STA TES MARSHAL
                           Case 4:14-cr-00173-KGB                 Document 58            Filed 09/09/15           Page 3 of 6
AO 2458        (Rev 09/11) Judgment in a Cnmmal Case
               Sheet 3 - Supervised Release
                                                                                                            Judgment-Page           of
DEFENDANT: KWOME LATAYE GREEN
CASE NUMBER: 4:14-cr-00173-01 KGB
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check. if applicable)

 D        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any JJersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall perm it confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or ,i:_iersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                          Judgment-Page          of
DEFENDANT: KWOME LATAYE GREEN
CASE NUMBER: 4:14-cr-00173-01 KGB

                                        SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
 shall abstain from the use of alcohol throughout the course of treatment.

 The defendant shall not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.

 The defendant shall disclose business and personal information including all assets, including unexpected financial gains,
 and liabilities to the probation office.

 The defendant shall not transfer, sell, give away, or otherwise convey any asset without approval from the probation office.
AO 2458
                        Case 4:14-cr-00173-KGB
           (Rev. 09/11) Judgment in a Criminal Case
                                                                     Document 58              Filed 09/09/15         Page 5 of 6
           Sheet 5 - Crimmal Monetary Penalties
                                                                                                        Judgment -   Page _ __     of
DEFENDANT: KWOME LATAYE GREEN
CASE NUMBER: 4:14-cr-00173-01 KGB
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                                                               Restitution
TOTALS             $ 100.00                                               $                                 $ 200.00


 D The determination ofrestitution is deferred until             ---
                                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Pavee                                                                  Total Loss*        Restitution Ordered Priority or Percentage
  Helena National Bank                                                                 $200.00                 $200.00      Joint and Several

  942 Highway 49 West

  Helena, Arkansas 72390




 TOTALS                              $                           200.00            $ _ _ _ _ _ _2_0_0_.o_o_


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ri/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     ri/ the interest requirement is waived for the D fine ri/ restitution.
      D the interest requirement for the              D   fine     D restitution is modified as follows:


 *Findings forthe total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
AO 245B
                       Case 4:14-cr-00173-KGB
           (Rev 09/11) Judgment m a Cnminal Case
                                                                   Document 58            Filed 09/09/15             Page 6 of 6
           Sheet 6 - Schedule of Payments
                                                                                                              Judgment - Page       6      of           6
DEFENDANT: KWOME LATAYE GREEN
CASE NUMBER: 4:14-cr-00173-01 KGB

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ri/ Lump sum payment of$           100.00
                                       - - - - - - -
                                                               due immediately, balance due

                 not later than                                     , or
                 in accordance         D c,        DD,         D      E,or     ri/ F below; or
 B    D Payment to begin immediately (may be combined with                   D C,        D D, or       D F below); or
 C    D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                         (e.g., weekly, monthly. quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D Payment during the term of supervised release will commence within                    (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    ri/ Special instructions regarding the payment of criminal monetary penalties:
            During incarceration, the defendant will pay 50 percent per month of all funds that are available to him. During
            residential reentry placement, payments will be 10 percent per month of the defendant's monthly gross income.
            Interest requirement is waived. Beginning the first month of supervised release, payments will be 10 percent per
            month of the defendant's monthly gross income.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through tbe Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 ri/ Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Restitution will be joint and several with any person who has been or will be convicted on an offense tor which
       restitution to the same victim on the same loss is ordered.



 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
